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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

  FANNY LEGER,                                         §
                                                       §
         Plaintiff,                                    §
                                                       §
 v.                                                    §               Civil Action No. 4:22-cv-18
                                                       §
 PRIMELENDING, A PLAINSCAPITAL                         §
 COMPANY,                                              §
                                                       §
         Defendant.                                    §

                            JOINT MOTION TO CONTINUE
                  INITIAL PRETRIAL AND SCHEDULING CONFERENCE

        Plaintiff Fanny Leger (“Plaintiff”) and Defendant PrimeLending, a PlainsCapital Company

(“Defendant”) (the “Parties”) file this Motion to Continue the Initial Pretrial and Scheduling

Conference, and in support thereof respectfully states the following:

        1.       Plaintiff brought this lawsuit to prevent the foreclosure of the property made subject

of this suit. Defendant removed the lawsuit to this Court on January 4, 2022. [Doc. 1].

        2.       On January 5, 2022, the Court issued its Order for Conference and Disclosure of

Interested Parties, setting the Initial Pretrial and Scheduling Conference for June 22, 2022 at 9:00

a.m. at the United States Courthouse, 515 Rusk Street, Courtroom 600, Houston, Texas 77002.

[Doc. 3]. The Parties filed their Joint Discovery / Case Management Plan pursuant to the Court’s

Order on June 7, 2022. [Doc. 6].

        3.       The Parties are currently involved in informal settlement discussions to resolve this

matter. Counsel requests that this Court reschedule the Initial Pretrial and Scheduling Conference

for sixty (60) days so that counsel may continue discussions to resolution.




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        4.       This Motion is not sought for delay, but so that counsel can possibly resolve this

matter outside of judicial intervention.

        WHEREFORE Plaintiff Fanny Leger and Defendant PrimeLending, a PlainsCapital

Company respectfully request this court cancel the currently scheduled Initial Pretrial and

Scheduling Conference and reschedule same no sooner than sixty days from the date of this

Motion.

                                                    Respectfully submitted,

                                                    By:     /s/ Shelley L. Hopkins
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                                                            SD ID No. 926469
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                                                            ATTORNEYS FOR DEFENDANT

                                                    By:     /s/ Bradley L. Leger
                                                            Bradley L. Leger
                                                            State Bar No. 24039899
                                                            SD ID No. 38360
                                                            Rodney K. Castille
                                                            State Bar No. 03984300


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                                                            SD ID No. 8282
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                                                            ATTORNEYS FOR PLAINTIFF



                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 15th day of June 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

VIA ECF:
Bradley L. Leger
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                                                            /s/ Shelley L. Hopkins
                                                            Shelley L. Hopkins




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